 

   

:19-cr-20379-DPH-APP ECF No.1 filed 06/06/19 PagelID.1 Pagel1of3

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

UNITED STATES OF AMERICA, Case:2:19-cr-20379

Judge: Hood, Denise Page
MJ: Patti, Anthony P.
Plaintiff, Filed: 06-06-2019 At 04:25 PM
SEALED MATTER (NA)

VS. VIOL:
18 U.S.C. § 1425(b)

HOUSSAM ALI HACHEM,

Defendant.

 

INDICTMENT
THE GRAND JURY CHARGES:
COUNT ONE
(Procurement of Citizenship or Naturalization Unlawfully, 18 U.S.C. § 1425(b))

On or about June 18, 2009, in the Eastern District of Michigan, and
elsewhere, the defendant, HOUSSAM ALI HACHEM, for himself, a person not

entitled to naturalization or citizenship, did knowingly procure and obtain and apply

 
   
 
 

MATTHEW SCHNEIDER
UNITED STATES ATTORNEY

s/Cathleen M. Corken
CATHLEEN M. CORKEN
Assistant United States Attorney
Chief, National Security Unit
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Detroit, Michigan 48226

 

Dated: June 6, 2019

:19-cr-20379-DPH-APP ECF No..1 filed 06/06/19 PagelID.2 Page2of3

for, and otherwise attempt to procure and obtain, naturalization or citizenship, in

violation of Title 18, United States Code, Section 1425(b).

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

s/Kevin M. Mulcahy
KEVIN M. MULCAHY

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Case 2:19-cr-20379-DPH-APP ECF No.1 filed 06/06/19 PagelD.3 Page 3 of 3

Case:2:1 9-cr-20379
Judge: Hood, Denise Page

 

United States District Court imi MJ: Patti, Anthony P.
Eastern District of Michigan Criminal Case Co Filed: 06-06-2019 At 04:25 PM
SEALED MATTER (NA)

 

 

NOTE: it is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 
    

 

 

 

~Gom| | Companion Case Number:
This may be a companion case based upon LCrR 57.10 (b)(4)': ‘Judge Assigned:
L] yes No AUSA’s Initials:

 

 

Case Title: USA v. Houssam Ali Hachem

 

County where offense occurred : Wayne

Check One: Felony [Misdemeanor [Petty
Y_Indictment/ Information -—- no prior complaint.
Indictment/ Information —- based upon prior complaint [Case number: ]
Indictment/ information -- based upon LCrR 57.10 (d) [Complete Superseding section below].

 

 

 

 

Superseding to Case No: Judge:

[_]Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds counts.
[_]Embraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for

the above captioned case.
June 6, 2019 i. A M/
Date Kevin Mulcahy

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1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
or related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases
even though one of them may have already been terminated.
